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                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
OCA – ASIAN PACIFIC AMERICAN         )
ADVOCATES,                           )
                                     )
                  Plaintiff,         )
                                     )
      v.                             )     Civil Action No. 25-0287 (TJK)
                                     )
MARCO RUBIO, et al.,                 )
                                     )
                  Defendants.        )
___________________________________ )

               DEFENDANTS’ MOTION FOR EXTENSION OF TIME
                  TO RESPOND TO THE AMENDED COMPLAINT,
             AND PARTIAL MOTION FOR SUMMARY JUDGMENT WITH
                   COUNTERSTATEMENT OF DISPUTED FACTS

       Defendants Donald J. Trump, in his official capacity as President of the United States,

Kristi Noem, in her official capacity as Secretary of the United States Department of Homeland

Security and the U.S. Department of Homeland Security; Marco Rubio in his official capacity as

Secretary of State and the U.S. Department of State; Pam Bondi, in her official capacity as

Attorney General of the United States and the U.S. Department of Justice; and Leland Dudek, in

his official capacity as Acting Commissioner of the Social Security Administration and the U.S.

Department of Social Security (collectively, “Defendants”), by and through their attorneys,

respectfully submit this motion for extension of time until August 14, 2025, to file a comprehensive

response to Plaintiffs’ filings including the Amended Complaint and Partial Motion for Summary

Judgment with counterstatement of disputed facts.

                                      PROCEDURAL POSTURE

       OCA-Asian Pacific American Advocates (“OCA”) filed this action on January 31, 2025.

On April 7, 2025, Defendants filed a motion for extension of time to file a motion to stay on April
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14, 2025. ECF No. 13. The Court ultimately granted Defendants’ request nunc pro tunc on April

14, 2025. See April 14, 2025, Minute Order. On April 14, 2025, Defendants filed their motion to

stay proceedings primarily because the Executive Order Plaintiffs are challenging—Executive

Order 14160, Protecting the Meaning and Value of American Citizenship (“EO 14160” or the

“Executive Order”)—was the subject of three nationwide injunctions and because in the interests

of judicial economy the stay would avoid duplicative and potentially conflicting litigation.

Defendants also requested that to the extent that the Court denies their motion to stay, they be

allowed twenty-one calendar days from issuance of any order denying the motion to stay to

respond to Plaintiff’s petition. On May 14, 2025, the Court denied Defendants’ motion to stay

holding, in part, “that a stay would simply reallocate the Court’s time by delaying the case’s

resolution.” And that “if the Supreme Court takes up the question of whether Executive Order

14160 is lawful, that would be a different matter. But until then, the Court cannot see how the

requested stay would materially promote efficient use of its resources.” Mem. Op. at 3-4, ECF

No. 19. Accordingly, the Court ordered that Defendants answer or otherwise respond to the

Complaint by June 4, 2025, twenty-one (21) days from its decision. Due to the press of business

and the need for internal review, an additional extension from June 4, 2025, up to and including

Wednesday, June 25, 2025, was requested. ECF No. 20. The plaintiffs opposed. ECF No. 21. The

Court granted the motion in part and ordered the Defendant to file a responsive pleading by July

18, 2025. June 2, 2025, Minute Order. Defendants filed their Motion for Summary judgment and

in the alternative to Dismiss on June 18, 2025. ECF No. 22, 23. An Amicus brief in support of

Defendants was filed by Immigration Reform Law Institute on June 26, 2025. ECF No. 31.

Thereafter, Plaintiffs filed: (1) an unopposed Motion to proceed pseudonymously (ECF No. 28);




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(2) an Amended Complaint (ECF NO. 29); and (3) a Motion for Partial Summary Judgment (ECF

No. 30).

       Pursuant to Local Civil Rule 7(m), undersigned counsel contacted Plaintiff’s counsel on

July 7, 2025, regarding this extension motion. Plaintiff’s position on this motion is as follows:

       “Plaintiffs oppose and plan to file a written opposition. While we would ordinarily
       assent to a reasonable request, (i) we do not consider the request to extend the
       Government’s response time to over six weeks from when the amended complaint
       and motion for partial summary judgment were filed to be reasonable, particularly
       in light of the Government’s prior requests for extensions and the admonitions in
       Judge Kelly’s January 31 Standing Order and June 2 Minute Order, and (ii) in view
       of the position the Government took in the Supreme Court in the CASA v. Trump
       matter, with the resulting nullification of the universal injunctions previously
       protecting our clients, we need to move as expeditiously as possible for relief and
       cannot agree to further delay adjudication of this case. While we cannot agree to
       your request as posed, we are willing to extend the Government’s time to file a
       responsive pleading to the amended complaint to July 16 to allow the Government
       the option of filing a cross-motion as its responsive pleading.”

                                          ARGUMENT

In support of this motion, Defendants state as follows:

       Due to the significance of this matter and its nationwide constitutional implications,

Defendants are requesting more time to review the amended pleadings and file a reasoned response

to the Plaintiffs’ Amended Complaint (ECF No. 29) and Partial Motion for Summary Judgment

(ECF No. 30). Because of the short timeframe to respond to the Amended Complaint (July 15,

2025) and the Partial Motion for Summary Judgment (July 16, 2025) and counsel’s current

litigation and supervisory responsibilities, an extension is necessary to review the amended

pleadings, and prepare a reasoned response as well as to seek internal Justice Department review

and comments.

       There is good cause for this request. Undersigned counsel has assumed the complete docket

of an Assistant U.S. Attorney who has been out of the office due to a family emergency. As a




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result, the undersigned has the full responsibility of defending a full docket of cases that includes

FOIA, Immigration, Privacy Act, Tort and Employment Discrimination cases. Thus, her time has

been spent reviewing, researching, discussing, preparing and filing various memoranda for those

cases. Over the past week and a half, undersigned counsel researched and prepared a reply in a

contentious immigration matter, defended two depositions in an employment discrimination

matter, prepared for and appeared in two status conferences, filed three JSRs in FOIA matters,

conferred with counsel and settled a pending case, interviewed five potential candidates for

positions within the office, and conferred with subordinate attorneys about their work product and

reviewed memoranda to be filed with the Court. Undersigned counsel’s time is constrained going

forward due to a Reply due the week of July 14, 2025, preparing witnesses for depositions on July

15th and the 16th . In addition, counsel will be faculty at the NAC (National Advocacy Center) in

South Carolina from July 21 through July 24th. As a result, counsel is requesting this brief

extension.

       Defendants note that a Motion for Classwide Preliminary was recently filed in the District

of New Hampshire, Barabara et al v. Donald J. Trump, et al., Civ. A. No. 25-244 (JL)(AJ). On

July 10, 2025, the District Court, in that case, granted the Petitioners’ Motion for Provisional Class

Certification and Appointment of Class Counsel (ECF No. 63) and Petitioners’ Motion for

Classwide Preliminary Injunction (ECF No. 64). The Court provisionally certified the following

class for the purposes of preliminary injunctive relief:

       “All current and future persons who are born on or after February 20, 2025,
       where(1) that person’s mother was unlawfully present in the United States and the
       person’s father was not a United States citizen or lawful permanent resident at the
       time of said person’s birth, or (2) that person’s mother’s presence in the United
       States was lawful but temporary, and the person’s father was not a United States
       citizen or lawful permanent resident at the time of said person’s birth.”




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ECF No. 63. The Plaintiffs fit within this provisional class. The court also ordered that:

       “[T]he U.S. Department of Homeland Security; the Secretary of the Department of
       Homeland Security, in their official capacity; the U.S. Department of State; the
       Secretary of the U.S. Department of State, in their official capacity; the U.S.
       Department of Agriculture; the Secretary of the U.S. Department of Agriculture, in
       their official capacity; the Centers for Medicare and Medicaid Services; and the
       Administrator for the Centers for Medicare and Medicaid Services, in their official
       capacity are enjoined and restrained from enforcing the Executive order “Protecting
       the Meaning and Value of American Citizenship.””

ECF No. 64.

       The Defendants have not filed this request to delay the proceedings but for good cause.

       Accordingly, Defendants respectfully request an extension of time for thirty days until

Wednesday, August 14, 2025, to file their response to Plaintiffs’ filings including the Amended

Complaint and Partial Motion for Summary Judgment with counterstatement of material facts

(ECF No. 30).

 Dated: July 11, 2025                           Respectfully submitted,
        Washington, DC
                                                JEANINE FERRIS PIRRO
                                                United States Attorney


                                                By:           /s/ Heather Graham-Oliver
                                                      HEATHER GRAHAM-OLIVER
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___________________________________ )


                                  [PROPOSED] ORDER

       UPON CONSIDERATION of the Defendant’s motion for an extension of time to file its

Response to Plaintiff’s filings including the Amended Complaint, and Opposition to Plaintiff’s

Cross-Motion for Summary Judgment, and for good cause shown and the entire record herein, it

is hereby

       ORDERED that Defendant’s motion is GRANTED; and it is further

       ORDERED that Defendant shall have through and including August 14, 2025, to file its

Response to Plaintiff’s filings including the Amended Complaint and Opposition to Plaintiff’s

Cross-Motion for Summary Judgment.

       SO ORDERED:



Dated: July 11, 2025
                                                  ______________________
                                                  TIMOTHY J. KELLY
                                                  United States District Judge




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